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                    IN THE UNITED STATES DISTRICT COURT
                     FOR THE EASTERN DISTRICT OF TEXAS
                               TYLER DIVISION

THE DAILY WIRE, LLC;

FDRLST MEDIA, LLC; and

THE STATE OF TEXAS, by and through its                Civil Action No.: 6:23-cv-00609
Attorney General, Ken Paxton,

             Plaintiffs,

      v.

DEPARTMENT OF STATE;

GLOBAL ENGAGEMENT CENTER;

ANTONY BLINKEN, in his official capacity as
Secretary of State;

LEAH BRAY, in her official capacity as Deputy
Coordinator of the State Department’s Global
Engagement Center;

JAMES P. RUBIN, in his official capacity as
Coordinator for the Global Engagement Center of the
State Department;

DANIEL KIMMAGE, in his official capacity as the
Principal Deputy Coordinator for the Global
Engagement Center at the State Department;

ALEXIS FRISBIE, in her official capacity as Senior
Technical Advisor of the Technology Engagement
Team for the Global Engagement Center at the State
Department;

PATRICIA WATTS, in her official capacity as the
Director of the Technology Engagement Team at the
Global Engagement Center at the State Department,

             Defendants.


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                                   [PROPOSED] ORDER

      Before the Court is the motion of Plaintiffs, The Daily Wire, LLC, FDRLST Media, LLC,

and the State of Texas, for Expedited Preliminary-Injunction-Related Discovery.           After

considering the Motion, the Court finds good cause supports Plaintiffs’ request for limited

Preliminary-Injunction-Related Expedited Discovery and therefore the Motion is hereby

GRANTED.

      It is hereby ORDERED that:

      1. Within five business days of this Court’s ruling on this Motion, Plaintiffs may serve

          interrogatories and document requests on Defendants and may serve no more than five

          subpoenas on third parties.

      2. Defendants and third parties shall provide responses and objections within thirty days

          of service.

      3. Within ten days of the receipt of the responses, objections, and the production of

          responsive documents, the parties shall meet and confer in good faith about any

          discovery dispute, after which the parties shall submit a joint statement to the Court

          identifying the nature of any unresolved dispute.

      4. Within ten days of the receipt of the responses, objections, and any responsive

          documents, Plaintiffs shall notify Defendants whether they will seek additional third-

          party subpoenas or depositions pursuant to Rule 30(a)(2) of the Federal Rules of Civil

          Procedure.

      5. Within seven days of receiving notice of the depositions and additional third-party

          subpoenas sought by Plaintiffs, the parties shall meet and confer regarding the

          additional discovery requests. Should the parties reach an impasse, they shall submit

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        separate statements to the Court stating their positions on each requested subpoena and

        deposition.

     6. Thereafter, this Court shall determine any outstanding discovery disputes, after which

        Plaintiffs will have ten days to serve any additional third-party subpoenas and thirty

        days to complete any authorized depositions.

     7. Within twenty days after all authorized depositions are taken, Plaintiffs may

        supplement their previous memoranda in support of their Motions for a Preliminary

        Injunction.

     8. Within twenty days after Plaintiffs file their supplemental memorandum, Defendants

        may file a supplemental memorandum in response to the Motion for Preliminary

        Injunction.

     9. Within ten days after Defendants file their supplemental memorandum, Plaintiffs may

        file a reply.




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